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AQ 24513 (Rev 09/19) — Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia [>]
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
RODNEY KENNETH MILSTREED )
) Case Number: 22-cr-00198-JEB-4
USM Number: 02596-510
) Rammy Barbari
) Defendant's Attorney — ~ ee

THE DEFENDANT:
W) pleaded guilty to count(s) —_18-3s of the SUPERSEDING INFORMATION filed on 4/11/2023,

L] pleaded nolo contendere to count(s)
which was accepted by the court,

CJ was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count

18USC §§111(a)(1)and(b) Assaulting, Resisting, or Impeding Certain Officers Using a Da 1/6/2021 1s

18 USC § 113(a)(4) Assault by Striking, Beating, and Wounding Within the Territorl 1/6/2021 2s

26USC§§5841 ,5861(d)58: Receipt and Possession of an Unregistered Firearm 1/6/2021 3s
The defendant is sentenced as provided in pages 2 through 8 ~——__soof this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

1) The defendant has been found not guilty on count(s)
M Couns) 1-14 of the original Indictment DC is Ware dismissed on the motion of the United States.

_. tis ordered that the defendant must notily the United States attorney for this district within 30 au ol any charge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments iiriposed by this judgment are fully paid. [ordered to pay restitution,
the defendant must notify the court and United States allerney of material changes in Gcanomic circumstances.

9/22/2023

Date of Imposition of Judgment

ASE —

Signature of Judge

James E. Boasberg, US District Court Chief Judge

Name and Title of Judge -

GlWi-y

Date
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AO 2451 (Rev 09/19) Judgment in Criminal Case

Sheet 2 — Imprisonment

Judgment — Page 2 of 8

DEFENDANT: RODNEY KENNETH MILSTREED - oO
CASE NUMBER: 22-cr-00198-JEB-1

tolal term of

IMPRISONMENT

‘The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
Defendant is sentenced to sixty (60) months incarceration as to counts 18,38, and twelve (12) months on count

2s, all to run concurrently,

1 ‘Ihe court makes the following recommendations to the Bureau of Prisons:
BOP Cumberland

1 ‘I'he defendant is remanded to the custody of the United States Marshal.

( ‘he defendant shall surrender to the United States Marshal for this district:

L) at Cl am. TO pm. — on
(1 as notified by the United States Marshal.

[J] Uhe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

(J before 2 p.m, on
("] as notified by the United States Marshal.

(1 as notified by the Probation or Pretrial Services Office.

RETURN

| have exccuted this judgment as follows:

at

[Defendant delivered on to

_, with a certified copy of this judgment.

UNITED STATES MARSHAL,

By seh a 9 Rema
~ DEPUTY UNITED STATES MARSHAL,
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 2A — Imprisonment

Judgment—Page 3 of 8

DEFENDANT: RODNEY KENNETH MILSTREED
CASE NUMBER: 22-cr-00198-JEB-1

ADDITIONAL IMPRISONMENT TERMS

BOP Cumberland
Residential Drug Abuse Program RDAP
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AQ 2513 (Rev 09/19) ludgment in a Criminal Case

Sheel 3 — Supervised Release

Judgment—Page 4 al B
DEFENDANT: RODNEY KENNETH MILSTREED
CASE NUMBER: 22-cr-00198-JEB-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of;

Twenty-four (24) months Supervised Release as to counts 18,3s, and twelve (12) months as to count 2s. All terms of
Supervised Release shall also run concurrently.

Os

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C1 The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)

You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

) You nust cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

C] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

C1) You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page.
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AQ 24513 (Rey, 09/19) Judginent in a Criminal Case
Sheet 3A ~~ Supervised Release

Judginent—Page DL af 8
DEFENDANT: RODNEY KENNETH MILSTREED

CASE NUMBER: 22-cr-00198-JEB-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision, These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

|. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame,

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed,

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer,

You must answer truthfully the questions asked by your probation officer.

You must live al a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. I notilying
the probation officer in advance is hot possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change,

You must allow the probation officer (o visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view,

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (stich as your position or your job
responsibilities), you must notify the probation officer al least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. Lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, ar have access to a firearm, ammunition, destructive device, or dangerous weapon (Le, anything thal was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers),
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or in formant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may

require you to notify the person about the risk and you must comply with that instruction, The probation officer may contact the
person and confirm that you have notified the person about the risk,

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS, probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of (his

judgment containing these conditions, For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: WwW W.USCQUIIS, LOY,

Defendant's Signature Date
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AQ 2452 (Rev 09/19) Judgment ina Criminal Case
Sheet 3D — Supervised Release

Judgment—Page 6 oof
DEFENDANT: RODNEY KENNETH MILSTREED
CASE NUMBER: 22-cr-00198-JEB-1

SPECIAL CONDITIONS OF SUPERVISION

You shall comply with the following special conditions:

You are ordered to make restitution to the Architect of the Capitol in the amount of $2,000. The court determined you do
not have the ability to pay interest and therefore waives any interest or penalties that may accrue on the balance.

Financial Payment - You must pay the financial penalty in accordance with the Schedule of Payments sheet of the

judgment. You must also notify the court of any changes in economic circumstances that might affect the ability to pay this
financial penalty.

Financial Payment Schedule - Having assessed the defendant's ability to pay, payment of the total criminal monetary

penalties is due as follows: Payment in equal monthly installments of $200 a month over a period of 35 months, to
commence upon release.

Substance Abuse Testing - You must submil to substance abuse tasting to determine if you have used a prohibited
subslance. You must not attempt to obstruct or tamper with the testing methods.

Substance Abuse Treatment -You must participate in an inpatient and/or outpatient substance abuse treatment program

and follow the rules and regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.).

Re-enlry Progress Hearing - Within forty-five days of release from incarceration you will appear before the Court fora
re-entry progress hearing. The United States Probation Office in the district you are supervised will submit a progress

report to the court within the thirty days of the commencement of supervision; upon receipt of the progress report, the
Court will determine if your appearance is required.

Restitution payments shall be made to the Clerk of the Court for the United States District Court, District of Columbia, for
disbursement to the following victim:

Architect of the Capitol

Office of the Chief Financial Officer
Ford House Office Building,

Room H2-205B

Washington, DC 20515

$2,000.00
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AO 24513 (Rev 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penallies

Judgment —- Page T oo 6.
DEFENDANT: RODNEY KENNETH MILSTREED
CASI NUMBER: 22-cr-00198-JEB-1

CRIMINAL MONETARY PENALTIES

‘he defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Restitution Fine AVAA Assessment* JIVTA Assessment**
TOTALS $ 225.00 $ 2,000.00 $ $ $

(1 ‘The determination of restitution is deferred until

_. An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.

[1 ‘The defendant must make restitution (including community restitution) to the following payees in the amount listed below,

ihe defendant mukes a partial payment, each payee shall receive an apprak imately pregertioned ayment, unless specified otherwise in
Sc,

ihe priority arder or percentage payment column below, However, pursuant to 18 § 3664(i), all nonfederal victims must be paid
before the United Stites is. paid,

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Clerk of the Court for the United States

District Court for the District of Columbia

for disbursement ta the following victims

$2,000.00
Architecl of the Capitol
Office of lhe Chief Financial Officer
Ford House Office Building, Room H2-205B
Washington, DC 20515
TOTALS $ _ 0.00 $ _ 2,000.00

Restitulion amount ordered pursuant to plea agreement $

‘he defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

lilleenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f), All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Yi The court determined that the defendant does not have the ability to pay interest and It is ordered that:

W1 the interest requirement is waived forthe (J fine &_ restitution.

Cl the interest requirement forthe [] fine (4) restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub, L, No, 115-299.
*© Justice for Victiins of Trafficking Act of 2015, Pub. L. No. | )4-22

*e® |inings for re total amount of losses gre eae under Chapters LO9A, 110, 110A, and 113A of Title 18 for offenses committed on
or ilicr Seprember 13, 1994, but before April 23, 1996,
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AO 24513 (Rev, 09/19) — Judgment in a Criminal Case
Sheet 6 ~- Schedule of Payments

Judgment— Page 8 soo’
DEFENDANT; RODNEY KENNETH MILSTREED

CASE NUMBER; 22-cr-00198-JEB-1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ¥J Lumpsum payment of $§ 2,225.00 | _ due immediately, balance due
(1 not later than , or

Wl inaccordancewith  C, O D, OQ E,or 1 F below; or

B (J Payment to begin immediately (may be combined with (IC, O1D,or OF below); or

C (Payment tn equal (e.g., weekly, monthly, quarterty) installments of $ over a period of
(e.g., months or years), to commence ___ (e.g. 30 or 60 cays) after the date of this judgment, or
D © Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g, months or years), to commence

(e.g, 30 or 60 days) after release from imprisonment to u
term of supervision; or

E (0 Payment during the term of supervised release will commence within

F WZ Special instructions regarding the payment of criminal monetary penalties:

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333

. _ (eg., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time, or

~ |
| |

Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk

of the Court of the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, (ay
the period of imprisonment” All criminal nvenetary penalties, ee those payments made
Financial Responsibility Program, are made to the clerk of the court,

The defendant shall receive credit for all payments previously madc toward any criminal monctary penalties imposed.

C] Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several

(including defendant number) Total Amount Amount if appropriale

1 the defendant shall pay the cost of prosecution.
(1 The defendant shall pay the following court cost(s):

C) The defendant shall forfeit the defendant’s interest in the following property to the United States:

ment of criminal monetary penalties is due during
through the Federal Buienu of Prisons’ Inmate

Corresponding Payce,

Payments shill be applied in the following order: (1) assessment, 2) restitution en (3) restilution interest, (4) AVAA assessment,

(4) fine principal, (6) line interest, (7) community restitution, (8) J

TA assessment,
proseceuton id) Court costs,

penalties, und (10) costs, Including cost ol
